     Case 2:12-cr-06005-WFN   ECF No. 163   filed 07/12/12   PageID.527 Page 1 of 1




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 3
                           UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,              )
 6                                            )     No. CR-12-6005-WFN
                        Plaintiff,            )
 7                                            )     ORDER DENYING DEFENDANT’S
       v.                                     )     MOTION TO MODIFY
 8                                            )
       ROBERT JOHN BERON, a/k/a               )             MOTION DENIED
 9     Robert Beron,                          )              (ECF No. 137)
                                              )
10                      Defendant.            )

11    Date of Motion hearing: June 20, 2012.

12          Having considered the submission and arguments of the parties,

13          IT IS ORDERED Defendant’s Motion to Modify (ECF No. 137) is

14    DENIED.

15          DATED July 12, 2012.

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17                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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      ORDER DENYING DEFENDANT’S MOTION TO MODIFY - 1
